          Case 2:19-cv-00098-MHT-GMB Document 7 Filed 02/21/19 Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


GAVIN McINNES,
                                                               CIVIL ACTION NO.
          Plaintiff,                                          2:19-cv-98-MHT-GMB

                       - vs.-

SOUTHERN POVERTY LAW CENTER,
INC.,

          Defendant.


                   PLAINTIFF’S RESPONSE TO DEFENDANT’S
       MOTION TO CONTINUE DEADLINE FOR FILING RESPONSE TO COMPLAINT

          COMES NOW the Plaintiff, Gavin McInnes and files this response to the Motion to

Continue Deadline for Filing Response to Complaint filed by the Defendant, The Southern

Poverty Law Center, Inc.

          1.      At the request of defendant, plaintiff provided a copy of the Complaint to

defendant via email on February 4, 2019.

          2.      On that date, defendant agreed to accept service, but then sought to structure an

agreement by which plaintiff would offer defendant a waiver of service pursuant to Rule 4(d) of

the Federal Rules of Civil Procedure, thus allowing defendant 60 days to file a responsive

pleading.

          3.      In light of the apparent ambiguity of defendant’s “acceptance of service” on

February 4, 2019 and unsure whether an agreement concerning an extension of time would be

negotiated, plaintiff, in an abundance of caution, served defendant under Rule 4(h)(1)(A) via

certified mail pursuant to Rule (4)(e)(1), which requires a responsive pleading within 21 days.


                                                   1
	  
       Case 2:19-cv-00098-MHT-GMB Document 7 Filed 02/21/19 Page 2 of 4



       4.      Service pursuant to Rule 4(h)(1)(A) was not an attempt to frustrate defendant or

a refusal to cooperate with a timely request for a reasonable extension of time to respond.

Rather, plaintiff believed (and still believes) in good faith that a delay of 60 days could harm

plaintiff because the longer plaintiff waits for relief, the longer the harms alleged in the

Complaint continue to accumulate.

       5.      In order to accommodate both this concern and the request by defendant, plaintiff

offered defendant a 15-day extension, from the date of service under the Rules, by emails dated

February 6, 2019 and February 13, 2019.

       6.      Such an extension would have given defendant until March 13, 2019, to file its

response to the Complaint, thus giving defendant 37 days from the date on which defendant

received the Complaint by email and agreed by email to “accept service.”

       7.      Defendant neither accepted this offer of additional time nor proposed a

compromise interval shorter than the 60 days it insisted on, but instead made the present

motion.

       8.      Plaintiff respectfully brings to the Court’s attention the fact that only a day after

the Complaint was filed and emailed to defendant, defendant, through its president Richard

Cohen, an attorney, took to the Internet to announce – presumably after conducting a good faith

analysis and investigation of the Complaint’s allegations and legal claims – the Complaint was

“meritless.” https://www.npr.org/2019/02/05/691643824/ proud-boys-founder-files-defamation-lawsuit-

against-southern-poverty-law-center (dated February 5 and printed February 20, 2019).

       9.      Notwithstanding this public statement by defendant, plaintiff believes in good

faith that defendant does indeed need additional time to investigate and analyze the claims in

the Complaint and to decide upon the appropriate response to plaintiff’s claims.



                                                  2
	  
       Case 2:19-cv-00098-MHT-GMB Document 7 Filed 02/21/19 Page 3 of 4



       10.       For this reason, plaintiff does not object to defendant being granted such

additional time to file a responsive pleading as the Court sees fit to order under the

circumstances.

       WHEREFORE, premises considered, plaintiff, Gavin McInnes, does not object to

defendant, The Southern Poverty Law Center, Inc., being granted an extension to file a

responsive pleading on or before April 6, 2019, and encourages this Honorable Court to enter

any orders it deems appropriate to facilitate defendant’s request.


       Respectfully submitted on this the 21th day of February, 2019.




                                                      /s/ G. Baron Coleman
                                                      G. Baron Coleman
                                                      Alabama Bar No. ASB 9562-O67C

                                                      BARON COLEMAN LAW FIRM
                                                      PO Box 789
                                                      Montgomery AL 36101-0789
                                                      baroncoleman@gmail.com
                                                      334-625-9097

                                                      RONALD D. COLEMAN (pro hac vice
                                                           admission pending)
                                                      LAUREN X. TOPELSOHN (pro hac vice
                                                           admission pending)
                                                      MANDELBAUM SALSBURG PC
                                                      1270 Avenue of the Americas – Suite 1808
                                                      New York, NY 10020
                                                      rcoleman@lawfirm.ms
                                                      ltopelsohn@lawfirm.ms
                                                      212-776-1834




                                                  3
	  
       Case 2:19-cv-00098-MHT-GMB Document 7 Filed 02/21/19 Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2019, I will electronically file the foregoing with the
Clerk of Court using the CM/ECF, which will then send a notification of such filing to the
following:

Robert D. Segall
Shannon Holliday
Copeland, Franco, Screws & Gill, P.A.
P.O. Box 347
Montgomery, AL 36101-0347




                                                      /s/ G. Baron Coleman
                                                      OF COUNSEL




                                                 4
	  
